AO 245D (Rev. 9/00) - Judgment
                        Casein 5:01-cr-20192-JW
                               a Criminal Case for Revocation   Document 52 Filed 04/23/08 Page 1 of 2

                                                United States District Court
                                                 Northern District of California

           UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                      v.                                                  (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses Committed On or After November 1, 1987)
            HERBERT JOHN DERUNGS
                                                                          USDC Case Number: CR-01-20192-001             JW
                                                                          BOP Case Number: DCAN301CR020192-001
                                                                          USM Number:          99654-111
                                                                          Defendant’s Attorney :James McNair Thompson


THE DEFENDANT:
[x]      admitted guilt to violation of condition(s) general condition to not commit another Federal, State or local crime (44 charges)
         of the term of supervision.
[]       was found in violation of condition(s)      after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                                         Date Violation
            Violation Number                                Nature of Violation                            Occurred
              1-28 and 30-45                       Committed Another Federal, State                        4/06 to 8/06
                                                   or local crime

       The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has not violated condition(s)                   and is discharged as to such violation(s) condition.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and
special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No.:             5065                              April 18, 2008
                                                                         Date of Imposition of Judgment
Defendant’s Date of Birth:             1970

Defendant’s USM No.:                   99654-111
                                                                         Signature of Judicial Officer
Defendant’s Residence Address:
c/o U.S. Marshal
                                                                         Honorable Susan Illston, U. S. District Judge
Defendant’s Mailing Address:                                             Name & Title of Judicial Officer

                                                                         4/23/08

                                                                         Date
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AO 245B (Rev. 12/03) (CAND Rev. 3/07) Judgment in a Criminal Case Sheet 2 - Imprisonment

DEFENDANT:                    HERBERT JOHN DERUNGS                                                         Judgment - Page 2 of 2
CASE NUMBER:                  CR-01-20192-001 JW

                                                            IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 24 months .
The term of imprisonment shall run concurrently to the sentence imposed in CR-07-0268 SI

[]        The Court makes the following recommendations to the Bureau of Prisons:



[x]       The defendant is remanded to the custody of the United States Marshal. The appearance bond is hereby
          exonerated.

[]        The defendant shall surrender to the United States Marshal for this district.

          [ ] at     [] am [] pm on .
          [ ] as notified by the United States Marshal.

          The appearance bond shall be deemed exonerated upon the surrender of the defendant.

[]        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
          Prisons:

          [ ] before 2:00 pm on      .
          [ ] as notified by the United States Marshal.
          [ ] as notified by the Probation or Pretrial Services Office.

          The appearance bond shall be deemed exonerated upon the surrender of the defendant.

                                                                    RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

at                                                       , with a certified copy of this judgment.


                                                                                                 UNITED STATES MARSHAL

                                                                                           By
                                                                                                Deputy United States Marshal
